Case 5:22-cv-00068-BO Document 131-3 Filed 10/19/22 Page 1 of 5
From:               Petty, Amy
To:                 Abraham Rubert-Schewel; elizabeth@emancipatenc.org; ian@emancipatenc.org; Emily Gladden; mll@littlejohn-
                    law.com
Cc:                 Kibler, Dottie; Norwood Blanchard; Rod Pettey; Peterson, Daniel E.; Cook, Lauren A.; Burn, Vicki B.; Dixon,
                    Jessica C.; Leslie Packer; Michelle Liguori; Benton, Jason R.
Subject:            RE: Amended Notice of Depositions
Date:               Wednesday, October 19, 2022 11:09:00 AM


Abe and all, We anticipate filing a motion for a protective order regarding Chief Patterson’s
deposition. Also, we recently learned she has a scheduling conflict on November 2. We do not
believe her deposition should be rescheduled until the court rules on our motion for a protective
order. Thank you. Amy

Amy C. Petty
Senior Associate City Attorney
City of Raleigh
City Attorney’s Office
Direct: (919) 996-6617
Cell: (919) 614-9636
Facsimile: (919) 996-7021


From: Abraham Rubert-Schewel <schewel@tinfulton.com>
Sent: Tuesday, October 18, 2022 3:24 PM
To: Benton, Jason R. <jasonbenton@parkerpoe.com>; elizabeth@emancipatenc.org;
ian@emancipatenc.org; Emily Gladden <egladden@tinfulton.com>; mll@littlejohn-law.com
Cc: Kibler, Dottie <dorothy.kibler@raleighnc.gov>; Norwood Blanchard
<norwood@cmclawfirm.com>; Rod Pettey <RPETTEY@ymwlaw.com>; Petty, Amy
<Amy.Petty@raleighnc.gov>; bthompson@ymwlaw.com; Peterson, Daniel E.
<danielpeterson@parkerpoe.com>; Cook, Lauren A. <laurencook@parkerpoe.com>; Burn, Vicki B.
<vickiburn@parkerpoe.com>
Subject: Amended Notice of Depositions

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verify that the attachment and content are safe. If you believe this email is suspicious, please click the 'Phish Alert'
link in the banner to report this message.


Dear all,

See attached Plaintiffs’ amended notice of depositions.

We intend to proceed with the following depositions as scheduled:

        Meghan Gay, Oct. 28
        Chief Patterson, Nov. 2

Please provide all discovery (including personnel and IA files) as soon as possible so we may
proceed without further delay.   


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Case 5:22-cv-00068-BO Document 131-3 Filed 10/19/22 Page 3 of 5
From:               Abraham Rubert-Schewel
To:                 Petty, Amy; Ian Mance; elizabeth@emancipatenc.org; Micheal L. Littlejohn Jr.; Emily Gladden
Cc:                 Kibler, Dottie
Subject:            Re: Irving v. City
Date:               Friday, October 14, 2022 3:30:44 PM




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Amy,

We intend to question Chief Patterson on the department’s policies and procedures related
to the claims in the lawsuit.

Best,

--
Abraham Rubert-Schewel

Tin Fulton Walker & Owen, PLLC
www.tinfulton.com

(919) 451-9216 Tel

Durham Office
119 E. Main Street
Durham, NC 27701

Offices in Charlotte, Chapel Hill, Raleigh and Durham



From: Abraham Rubert-Schewel <schewel@tinfulton.com>
Date: Thursday, October 13, 2022 at 1:53 PM
To: Petty, Amy <Amy.Petty@raleighnc.gov>, Ian Mance <ian@emancipatenc.org>,
elizabeth@emancipatenc.org <elizabeth@emancipatenc.org>, Micheal L. Littlejohn Jr.
<mll@littlejohn-law.com>, Emily Gladden <egladden@tinfulton.com>
Cc: Kibler, Dottie <dorothy.kibler@raleighnc.gov>
Subject: RE: Irving v. City

Thanks, Amy.

Sorry for the delay. We are meeting tomorrow and will get back to you by COB tomorrow.

Best,


           Case 5:22-cv-00068-BO Document 131-3 Filed 10/19/22 Page 4 of 5
Abe


From: Petty, Amy <Amy.Petty@raleighnc.gov>
Sent: Thursday, October 13, 2022 10:44 AM
To: Abraham Rubert-Schewel <schewel@tinfulton.com>
Cc: Kibler, Dottie <dorothy.kibler@raleighnc.gov>
Subject: FW: Irving v. City

Abe,
I am following up on the attached correspondence Dottie emailed you on 9/27. We had understood
from our conference call with you and other counsel on 9/30 that you would respond to us the
following week after a meeting amongst Plaintiffs’ counsel. As it has been more than two weeks
since that correspondence, please provide us with a response today. We hope to avoid the Court’s
involvement in this issue. Thank you. Amy


Amy C. Petty
Senior Associate City Attorney
City of Raleigh
City Attorney’s Office
Direct: (919) 996-6617
Cell: (919) 614-9636
Facsimile: (919) 996-7021

From: Kibler, Dottie <dorothy.kibler@raleighnc.gov>
Sent: Tuesday, September 27, 2022 5:20 PM
To: Abraham Rubert-Schewel <schewel@tinfulton.com>
Cc: Petty, Amy <Amy.Petty@raleighnc.gov>; Svendsgaard, Lisabeth
<Lisabeth.Svendsgaard@raleighnc.gov>
Subject: Irving v. City

Abe: Correspondence to you concerning Chief Patterson’s deposition is attached.
Regards, Dottie


Dorothy V. Kibler
Deputy City Attorney
City of Raleigh
Reception: 919.996.6560
Direct: 919.996.6568
Cell: 919.946.8504
Fax: 919.996.7021
Raleighnc.gov




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